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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTR.ICT OF NEW MEXICO

KIMBER_LY CI-[RISTOPH`ERSON,

Plaintiff,
V
No.: 16-0957 SCY-KBM
STATE FARM INSURANCE,
Defendant.

PLAINTIFF’S MOTION FOR REMAND
AND STIPULATION DAMAGES 74 999 OR LESS

COMES NOW Plaintiff, by and through counsel Victor A Titus, and hereby seeks
the remand of this case to State Court, and for grounds therefore states:

1. Federal courts are empowered to hear those cases in which federal question
jurisdiction lies, or in the alternative, where there is complete diversity among the
parties and the amount in controversy exceeds $75,000.00 28 USC §1441 through
1452.

2. The issue herein is whether the $50,000.00 in underinsured motorist coverage is
payable under an automobile policy sold by Defendant State Fami Insurance to
Plaintiff Kimberly Chn'stopherson.

3. The issue is one of law, and not of fact, primarily on whether offset under
applicable law for $50,000 received from the tortfeasor offsets the $50,000 in
UIM or not.

4. The other counts request attorney fees and costs and statutory penalties under the

insurance code for the bringing of the action.

5. Wiatt v. State Farm, 560 F Supp 2d 1068, 1075 (P.N.M. 2007) allows “aggregate
actual damages, punitive damages, attorney’s fees and statutorily imposed
penalties” when determining whether the jurisdictional amount is satisfied”

6. Plaintiff stipulates that she is not seeking more $74,999 for all claims and
damages, including claims for underinsured motorist benefits, contractual and
extra-contractual damages, “bad faith” claims , statutory claims and damages,

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fees, and costs, and any and all other claims in this matter.

7. Counsel for Defendants has been contacted and does not object to this Motion and

Stipulation.

WI-IEREFORE Plaintiff requests the Federal Court quash the remand and remand

this case to the District Court it was removed from.

| hereby certify that a true and correct
copy of the foregoing docu§ent was

mailed to all partiest ` day of
\ ‘\`> “‘

 

 

xc; Fi|e. Clienl Op s|rlg,

TITUS & MURPHY LAW FlR|Vl

 

V|CTOR A. TITUB' J
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